

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-70,737-01






PATRICK EARL DAVIDSON, Relator


v.


DALLAS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. W04-55083-J(A) IN THE CRIMINAL DISTRICT COURT NO. 2

FROM DALLAS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the Criminal District Court No. 2 of Dallas County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  Relator alleges that the trial court entered
an order designating issues on March 10, 2008, but that the ODI is untimely entered and without
effect.

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Dallas County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting proof of the timeliness of any order which designates issues
to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that
the nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Dallas County.  This application for leave to file a writ of mandamus
shall be held in abeyance until the respondent has submitted the appropriate response.  Such response
shall be submitted within 30 days of the date of this order.



Filed: November 5, 2008

Do not publish	


